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                                          EXHIBIT A

                                    Owl Hill Advisory, LLC



                  Summary of Staffing and Functions – FTX Trading Ltd., et al.
                   for the Period from March 1, 2024 through March 31, 2024



                  Name and Title                                   Function/Role

                                   Staffing – Officer Positions

John J. Ray III                                  Chief Executive Officer

                                Staffing – Non-Officer Positions

N/A                                              N/A
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                            The following Compensation Report includes
                      services performed by Owl Hill on behalf of the Debtors
                    for the period from March 1, 2024 through March 31, 2024

                                 Summary of Services Provided

               1.       John J. Ray III is the only professional staffed by Owl Hill on the

engagement. As the CEO for the Debtors, Mr. Ray has assumed in all respects the management

of the Debtors’ businesses. In addition, as described in the First Day Declarations, Mr. Ray has

provided oversight and support to the Debtors’ other professionals in connection with execution

of the five core objectives of these Chapter 11 Cases:

               (a)      Implementation of Controls: the implementation of accounting, audit,
                        cash management, cybersecurity, human resources, risk management, data
                        protection and other systems that did not exist, or did not exist to an
                        appropriate degree, prior to Mr. Ray’s appointment;

               (b)      Asset Protection & Recovery: the location and security of property of the
                        estate, a substantial portion of which may be missing or stolen;

               (c)      Transparency and Investigation: the pending, comprehensive, transparent
                        and deliberate investigation into claims against Mr. Samuel Bankman-
                        Fried, the other co-founders of the Debtors and third parties, in
                        coordination with regulatory stakeholders in the United States and around
                        the world;

               (d)      Efficiency and Coordination: cooperation and coordination with
                        insolvency proceedings of subsidiary companies in other jurisdictions; and

               (e)      Maximization of Value: the maximization of value for all stakeholders
                        through the eventual reorganization or sale of the Debtors ’complex array
                        of businesses, investments and digital and physical property.

               2.       During the Reporting Period, Mr. Ray directed and oversaw the Debtors’

businesses and worked with the Debtors’ retained professionals on these five objectives. This

work included periodic meetings and numerous communications with the independent board of

directors and attending regular weekly telephonic and in person board meetings to manage and

coordinate the Debtors’ operations and restructuring efforts. Mr. Ray led weekly calls with the


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lead professionals related to the overall direction and management of the case as well as broader

weekly meetings with the professional firms that are critical to the day-to-day management of

these Chapter 11 Cases. Additionally, Mr. Ray has worked to establish and maintain internal

controls, address and manage employees and employee concerns, interacted with management in

Japan, Europe and other locations throughout the world and managed cash, other assets and

investments, data and systems related issues with respect to all Debtors. Mr. Ray also provided

oversight related to the Debtors’ public relations and communications plans.

               3.     Mr. Ray also spent significant time managing the Debtors’ Chapter 11

Cases. Mr. Ray has dedicated his time to various issues related to asset recovery and security,

engagement and meeting with the Committee and monitoring the status of the Debtors’ chapter

11 filings and professional retentions. In connection with the review of professional retentions,

Mr. Ray coordinated with the Debtors’ professionals to avoid the unnecessary duplication of

services. In addition to work related to claims and creditor management, Mr. Ray provided

oversight and assistance with the evaluation of potential avoidance actions, the consideration of

the sale of certain businesses and investments and the development of restructuring strategies.

Mr. Ray is involved day to day with respect to the management and disposition of the Debtors’

coins and tokens. Additionally, Mr. Ray has been directly involved in the oversight and

management of the coin and token monetization process.




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                                 Summary of Compensation and Expenses


        Period                                   Fees                Expenses          Total

        March 1, 2024 – March 31, 2024               $363,825.00         $166.80         $363,991.80




                                     Summary of Expense by Category


        Expense Category                                                 Total Expenses

        Travel – Lodging                                                                         $0.00

        Travel – Airfare                                                                         $0.00

        Travel – Transportation (other)                                                          $0.00

        Travel – Meals                                                                           $0.00

        Other Expenses                                                                         $166.80

                                           Total Amount for Period:                            $166.80



                                Summary of Time and Fees by Professional


 Name of                                                             Hourly          Total       Total Fees
                                 Function/Role
Professional                                                       Billing Rate      Hours

John J. Ray III            Chief Executive Officer                  $1,575.00        231.0         $363,825.00

                                                                                      0.0                ($0.00)
                                     50% adjustment for non-working travel:
                                                                                                   $363,825.00
                                                     Total Amount for Period:




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                                   Time Detail Activity by Professional


                                                                                    Hours Corresponding
Enter Date                      Description                         Professional
                                                                                    Worked   Charge

3/1/24       Respond and communicate with creditor with           John J. Ray III    0.5      $787.50
             respect to claims process
3/1/24       Review communications and responses related to       John J. Ray III    0.5      $787.50
             Europe matters
3/1/24       Call with Galaxy related to token sales              John J. Ray III    0.5      $787.50
3/1/24       Call with S&C (A Dietderich and others), A&M (E John J. Ray III         1.0     $1,575.00
             Mosley and others), and JOLs related to plan
             updates and coordination of activities

3/1/24       Call with Galaxy, ACH, UCC professionals, and        John J. Ray III    1.0     $1,575.00
             A&M (K Ramanathan and others) related to token
             sales
3/1/24       Communicate and follow up directions related to      John J. Ray III    2.5     $3,937.50
             token sales
3/1/24       Communicate and review communications with           John J. Ray III    0.5      $787.50
             S&C (A Dietderich) related to consent agreement
3/1/24       Review and revise term sheet related to tokens       John J. Ray III    0.8     $1,260.00
3/1/24       Review Anthropic update and provide direction        John J. Ray III    0.3      $472.50
3/1/24       Review and approve bidders and NDAs                  John J. Ray III    0.5      $787.50

3/1/24       Review requests from creditor related to claim and John J. Ray III      0.3      $472.50
             investigate same
3/1/24       Review token update and coordinate meeting           John J. Ray III    0.8     $1,260.00
             related to token sale
3/2/24       Call with Galaxy related to token sales              John J. Ray III    0.3      $472.50
3/2/24       Call with S&C (A Dietderich) related to pending      John J. Ray III    0.3      $472.50
             matters
3/2/24       Review action items related to token sales           John J. Ray III    0.5      $787.50
3/2/24       Call with Galaxy, A&M (K Ramanathan and          John J. Ray III        1.0     $1,575.00
             others), S&C (A Dietderich and others), UCC, and
             ACH professionals related to token sales
3/2/24       Review feedback on claims matter                     John J. Ray III    0.5      $787.50

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                                                                                       Hours Corresponding
Enter Date                       Description                           Professional
                                                                                       Worked   Charge

3/3/24       Review token sales status                               John J. Ray III    0.5      $787.50
3/3/24       Prepare for Board meeting; assemble materials           John J. Ray III    3.0     $4,725.00
3/4/24       Review of token tracker and status of sales and         John J. Ray III    0.8     $1,260.00
             processes
3/4/24       Review of token sales process proposal                  John J. Ray III    0.8     $1,260.00
3/4/24       Call with Galaxy related to token sales process         John J. Ray III    0.5      $787.50
3/4/24       Review of Europe settlement documentation               John J. Ray III    0.5      $787.50
             related to claims settlement and provide feedback

3/4/24       Review and comment on motion to stay property           John J. Ray III    0.5      $787.50
             litigation
3/4/24       Call with Galaxy, A&M (K Ramanathan and               John J. Ray III      1.0     $1,575.00
             others), and creditor representatives related to coin
             and token sales
3/4/24       Review update related to Anthropic sale process         John J. Ray III    0.3      $472.50
3/4/24       Call with creditors related to inquiries on case        John J. Ray III    0.5      $787.50
             matters
3/4/24       Review of bids related to token sales and provide       John J. Ray III    2.5     $3,937.50
             feedback
3/4/24       Review of KYC procedures                                John J. Ray III    0.3      $472.50
3/4/24       Respond to questions from S&C (T Hill) related to John J. Ray III          0.5      $787.50
             Europe matters and provide direction
3/4/24       Review and approve NDAs and bidder summaries            John J. Ray III    0.3      $472.50
3/4/24       Review of claims issue related to KYC                   John J. Ray III    0.3      $472.50
3/4/24       Review and provide direction on Board agenda            John J. Ray III    0.3      $472.50
             and materials
3/4/24       Communications with A&M (K Ramanathan) and              John J. Ray III    0.5      $787.50
             Rothschilds (C Delo) related to token sales
3/5/24       Review status and provide direction related to          John J. Ray III    5.5     $8,662.50
             token sales
3/5/24       Call with Board for bi-weekly call                      John J. Ray III    0.5      $787.50


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                                                                                    Hours Corresponding
Enter Date                      Description                         Professional
                                                                                    Worked   Charge

3/5/24       Call with Galaxy, PH, FTI, A&M (K Ramanathan         John J. Ray III    1.0     $1,575.00
             and others), and S&C (A Dieterich and others)
             related to token sales
3/5/24       Communicate with Galaxy related to token             John J. Ray III    0.3      $472.50
             strategies
3/5/24       Review further changes on Europe settlement          John J. Ray III    0.5      $787.50
             documentation
3/5/24       Review professional payments and approve same        John J. Ray III    0.5      $787.50
3/5/24       Review motions related to BlockFi                    John J. Ray III    0.8     $1,260.00
3/5/24       Review motion to extend exclusivity                  John J. Ray III    0.5      $787.50
3/5/24       Review and sign off on materials provided by         John J. Ray III    0.5      $787.50
             Galaxy
3/5/24       Review and sign off on claims matter with A&M        John J. Ray III    0.3      $472.50
             (R Esposito)
3/6/24       Call with token issuer related to tokens owed        John J. Ray III    1.0     $1,575.00
3/6/24       Call with A&M (K Ramanathan) related to coin         John J. Ray III    0.5      $787.50
             and token balances and processes
3/6/24       Management of token and sale process and related     John J. Ray III    4.5     $7,087.50
             document review
3/6/24       Respond and follow up to creditor related to         John J. Ray III    0.5      $787.50
             venture investment
3/6/24       Review of Japan deck and provide direction           John J. Ray III    0.8     $1,260.00
3/6/24       Review updates related to venture sale process       John J. Ray III    0.5      $787.50
3/6/24       Review tax IDR requests and direction on handling John J. Ray III       0.3      $472.50
3/7/24       Call with S&C (J Bromley and others) related to      John J. Ray III    0.8     $1,260.00
             examiner order comments
3/7/24       Review of allotment of token sales and               John J. Ray III    2.5     $3,937.50
             management of same
3/7/24       Review of progress of token sales                    John J. Ray III    1.8     $2,835.00

3/7/24       Review NDAs and background KYC checks of             John J. Ray III    1.3     $2,047.50
             token purchasers

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                                                                                     Hours Corresponding
Enter Date                      Description                         Professional
                                                                                     Worked   Charge

3/7/24       Review of Plan structure list and questions related   John J. Ray III    2.3     $3,622.50
             to Plan terms

3/7/24       Review of revised examiner order                      John J. Ray III    0.3      $472.50
3/7/24       Review of February trading report                     John J. Ray III    0.5      $787.50

3/7/24       Review updates related to reimbursement claim         John J. Ray III    0.5      $787.50
3/7/24       Review diligence request and follow up questions      John J. Ray III    0.3      $472.50
             related to responses
3/8/24       Call with S&C (A Dietderich and others) related to John J. Ray III       0.3      $472.50
             Voyager

3/8/24       Review of final examiner markup                       John J. Ray III    0.3      $472.50
3/8/24       Review draft communication related to token sales John J. Ray III        0.3      $472.50
3/8/24       Review management matters related to EU               John J. Ray III    0.3      $472.50
3/8/24       Review communications related to Plan process         John J. Ray III    0.3      $472.50
3/8/24       Review progress on token sales and status of          John J. Ray III    2.5     $3,937.50
             documentation
3/8/24       Review background materials and NDAs for token John J. Ray III           1.5     $2,362.50
             bidders
3/8/24       Review and provide direction relative to money        John J. Ray III    0.3      $472.50
             transfer license status
3/9/24       Review draft complaint                                John J. Ray III    2.3     $3,622.50
3/9/24       Review background reports for KYC purposes            John J. Ray III    0.5      $787.50
3/9/24       Call with Galaxy, A&M (K Ramanathan), and             John J. Ray III    1.0     $1,575.00
             token issuer
3/9/24       Calls with S&C (A Dietderich and A&M) and (K          John J. Ray III    1.5     $2,362.50
             Ramanathan and others) related to token sales
3/10/24      Call with PH (K Pasquale), S&C (A Dietderich), John J. Ray III           1.0     $1,575.00
             and A&M (K Ramanathan and S Coverick) related
             to token sale process
3/10/24      Call with S&C (A Dietderich) and A&M (S               John J. Ray III    1.0     $1,575.00
             Coverick) related Plan matters


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                                                                                  Hours Corresponding
Enter Date                      Description                       Professional
                                                                                  Worked   Charge

3/10/24      Review of remaining token sales and process        John J. Ray III    1.5     $2,362.50
             structure
3/10/24      Review of token purchase agreement and mark up     John J. Ray III    0.8     $1,260.00
             and approve same

3/11/24      Call with Galaxy and A&M (K Ramanathan and         John J. Ray III    0.5      $787.50
             others) related to token sales

3/11/24      Call with A&M (S Coverick and K Ramanathan)        John J. Ray III    0.5      $787.50
             related to Plan updates
3/11/24      Review of UCC proposal re sales processes          John J. Ray III    0.5      $787.50
3/11/24      Weekly call with A&M (K Ramanathan and             John J. Ray III    1.0     $1,575.00
             others), Galaxy, AHC, and UCC related to token
             and coin sales
3/11/24      Review minutes of weekly token sales call and      John J. Ray III    0.3      $472.50
             update same

3/11/24      Review of materials related to token sales         John J. Ray III    1.0     $1,575.00
3/11/24      Review agreement drafts related to token sales     John J. Ray III    2.5     $3,937.50
3/11/24      Review updated claims status                       John J. Ray III    0.8     $1,260.00

3/11/24      Review consent agreement mark up and comments John J. Ray III         0.5      $787.50
3/11/24      Review and provide guidance on Japan matters       John J. Ray III    0.8     $1,260.00
3/11/24      Review diligence requests and approve same         John J. Ray III    0.3      $472.50
3/11/24      Review Galaxy draft sales process                  John J. Ray III    1.3     $2,047.50
             recommendation and revise same
3/11/24      Review comprehensive token update                  John J. Ray III    0.3      $472.50

3/12/24      Review investigation materials from QE             John J. Ray III    2.5     $3,937.50
3/12/24      Steering committee call with S&C (A Dietderich     John J. Ray III    1.0     $1,575.00
             and others), A&M (S Coverick and others), and
             PWP (B Mendelsohn and others)
3/12/24      Call with A&M (H Chambers, D Johnston, and         John J. Ray III    0.5      $787.50
             others) and S&C (E Simpson) related to Japan




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                                                                                        Hours Corresponding
Enter Date                       Description                           Professional
                                                                                        Worked   Charge

3/12/24      Call with S&C (S Wheeler and others) related to          John J. Ray III    0.5      $787.50
             updated materials

3/12/24      Review and execute venture and token sale                John J. Ray III    0.5      $787.50
             documents
3/12/24      Review of S&C deck and provide comments                  John J. Ray III    2.8     $4,410.00
3/12/24      Assisting with creditor KYC processes                    John J. Ray III    0.3      $472.50
3/12/24      Review update related to venture sale and provide        John J. Ray III    0.8     $1,260.00
             direction
3/12/24      Review revised order                                     John J. Ray III    0.3      $472.50
3/12/24      Review and execute venture sale document                 John J. Ray III    0.3      $472.50
3/12/24      Review and approve sale of certain coins and             John J. Ray III    0.8     $1,260.00
             token
3/12/24      Review E&Y comments re tax process                       John J. Ray III    0.3      $472.50
3/13/24      Review of AHC Plan issues                                John J. Ray III    0.8     $1,260.00
3/13/24      Review QE investigation materials and provide            John J. Ray III    1.5     $2,362.50
             comments
3/13/24      Review draft complaint                                   John J. Ray III    1.0     $1,575.00
3/13/24      Assist with creditor claims issue                        John J. Ray III    0.3      $472.50
3/13/24      Review claims status                                     John J. Ray III    1.5     $2,362.50
3/13/24      Call with A&M (K Ramanathan) related to token            John J. Ray III    0.5      $787.50
             and coin status
3/13/24      Review and comment on draft order                        John J. Ray III    0.5      $787.50
3/13/24      Call with creditor related to status of the Plan         John J. Ray III    0.5      $787.50
3/13/24      Call with AHC professionals, S&C (A Dietderich           John J. Ray III    1.5     $2,362.50
             and others), and A&M (S Coverick and others)

3/13/24      Review and execute draft stipulation related to          John J. Ray III    0.8     $1,260.00
             settlement
3/13/24      Review and provide direction related to contract         John J. Ray III    0.3      $472.50
             rejection claim



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                                                                                    Hours Corresponding
Enter Date                      Description                        Professional
                                                                                    Worked   Charge

3/13/24      Review and approve diligence requests and            John J. Ray III    0.8     $1,260.00
             approvals relative to NDAs
3/13/24      Review and execute consents                          John J. Ray III    0.8     $1,260.00
3/13/24      Review and sign off on token agreements and          John J. Ray III    0.8     $1,260.00
             execute same
3/14/24      Call with S&C (B Glueckstein and A Dietderich)       John J. Ray III    0.3      $472.50
             re preference settlement
3/14/24      Review coin and token sale structures                John J. Ray III    1.3     $2,047.50

3/14/24      Review engagement related to foreign liquidations John J. Ray III       0.8     $1,260.00
3/14/24      Review and execute consent order                     John J. Ray III    0.5      $787.50
3/14/24      Review and approve payment requests                  John J. Ray III    0.5      $787.50
3/14/24      Review draft complaint and provide comments          John J. Ray III    2.3     $3,622.50
3/14/24      Review employee status                               John J. Ray III    0.3      $472.50
3/14/24      Review revised draft order and provide comments      John J. Ray III    0.8     $1,260.00
3/14/24      Review investigation materials and discuss with      John J. Ray III    0.8     $1,260.00
             QE (M Scheck)

3/14/24      Review Europe related documentation changes          John J. Ray III    0.8     $1,260.00
3/14/24      Review venture investment related to LedgerPrime John J. Ray III        0.5      $787.50
3/14/24      Call with A&M (K Ramanathan and others), UCC, John J. Ray III           1.0     $1,575.00
             and ACH advisors related to token sales

3/14/24      Call with S&C (A Dietderich and others), A&M (S John J. Ray III         1.5     $2,362.50
             Coverick and others), and UCC professionals
             related to Plan structure
3/15/24      Review additional revised EU docs                    John J. Ray III    0.8     $1,260.00
3/15/24      Review consent agreement and settlement         John J. Ray III         3.0     $4,725.00
             agreement, and provide comments; review changes

3/15/24      Review insurance coverages                           John J. Ray III    0.3      $472.50

3/15/24      Review distribution agent materials                  John J. Ray III    2.5     $3,937.50

3/15/24      Review FTX Japan updates                             John J. Ray III    0.5      $787.50

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                                                                                    Hours Corresponding
Enter Date                      Description                        Professional
                                                                                    Worked   Charge

3/15/24      Review coin and token sale update                    John J. Ray III    0.8     $1,260.00
3/16/24      Review and provide direction related to token sales John J. Ray III     0.8     $1,260.00
             and bids, materials to be shared
3/16/24      Review final consent agreement                       John J. Ray III    0.3      $472.50
3/16/24      Prepare notes to S&C related to the sales process    John J. Ray III    0.5      $787.50

3/16/24      Review materials related to pending investigations John J. Ray III      2.8     $4,410.00
3/17/24      Review reply to estimation motion                    John J. Ray III    0.8     $1,260.00
3/18/24      Management of Japan matters                          John J. Ray III    1.5     $2,362.50
3/18/24      Review of draft NDAs and comments                    John J. Ray III    0.8     $1,260.00
3/18/24      Call with Cyber insurance related to renewal         John J. Ray III    1.0     $1,575.00
3/18/24      Call with A&M (K Ramanathan and others),             John J. Ray III    1.0     $1,575.00
             Galaxy, and UCC professionals re crypto and
             token sales
3/18/24      Call with A&M (K Ramanathan) re weekly crypto        John J. Ray III    0.5      $787.50
             update

3/18/24      Review professional updates related to venture       John J. Ray III    0.5      $787.50
             sales
3/18/24      Review and prepare board materials                   John J. Ray III    0.8     $1,260.00
3/18/24      Review and provide input related to settlements      John J. Ray III    0.8     $1,260.00
3/18/24      Review weekly and monthly work projections and       John J. Ray III    1.8     $2,835.00
             deadlines

3/18/24      Review Japan presentation materials                  John J. Ray III    0.8     $1,260.00
3/19/24      Review of Japan matters and staffing                 John J. Ray III    0.5      $787.50
3/19/24      Review of minutes and notes of coin and token        John J. Ray III    0.5      $787.50
             sales
3/19/24      Call with S&C (A Dietderich and others), A&M (E John J. Ray III         1.0     $1,575.00
             Mosely and others), and PWP (B Mendelsohn and
             others) for weekly update call
3/19/24      Review and execute documents related to token        John J. Ray III    0.5      $787.50
             matter

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                                                                                     Hours Corresponding
Enter Date                       Description                        Professional
                                                                                     Worked   Charge

3/19/24      Provision of assistance to creditors re KYC           John J. Ray III    0.5      $787.50
3/19/24      Call with Board, S&C (A Dietderich and others),       John J. Ray III    1.0     $1,575.00
             A&M (E Mosely and others), and PWP (B
             Mendelsohn and others)
3/19/24      Call with creditors re status of plan                 John J. Ray III    1.0     $1,575.00
3/19/24      Review and revise communications related to plan      John J. Ray III    0.5      $787.50
             recoveries

3/19/24      Review and execute NDA                                John J. Ray III    0.3      $472.50
3/19/24      Review and revise agreement related to Europe         John J. Ray III    0.8     $1,260.00
             matters
3/19/24      Review updated dashboard re status of token sales     John J. Ray III    1.0     $1,575.00
3/19/24      Review and approve information related to token       John J. Ray III    1.3     $2,047.50
             sale and information request responses
3/19/24      Review and approve diligence responses                John J. Ray III    0.3      $472.50

3/20/24      Review and management of active work streams          John J. Ray III    4.5     $7,087.50

3/20/24      Call with JL Frank related to communications,         John J. Ray III    0.5      $787.50
             including S&C (A Dieterich and others)
3/20/24      Assistance with creditor KYC                          John J. Ray III    0.3      $472.50

3/20/24      Review of deck related to Board update                John J. Ray III    0.5      $787.50

3/20/24      Review and execute subsidiary resolution              John J. Ray III    0.3      $472.50

3/20/24      Review and respond to media inquiries                 John J. Ray III    2.8     $4,410.00

3/20/24      Review and execute letter related to asset seizure    John J. Ray III    0.5      $787.50

3/20/24      Monitoring of token and coin sales process status     John J. Ray III    2.0     $3,150.00
3/20/24      Review and sign off on token sale agreements          John J. Ray III    1.3     $2,047.50
3/21/24      External calls and internal call related to Plan of   John J. Ray III    3.0     $4,725.00
             Reorganization status with JL Frank, S&C (A
             Dietderich and others), and third parties
3/21/24      Review and execute matter related to Maclaurin        John J. Ray III    0.5      $787.50
3/21/24      Review memo from JOL re Plan features                 John J. Ray III    0.5      $787.50

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                                                                                  Hours Corresponding
Enter Date                      Description                      Professional
                                                                                  Worked   Charge

3/21/24      Review calculations related to convenience class   John J. Ray III    0.8     $1,260.00
3/21/24      Review and approve professional payments           John J. Ray III    0.8     $1,260.00

3/21/24      Review and sign off on vault matter                John J. Ray III    0.5      $787.50

3/21/24      Review diligence responses related to coin         John J. Ray III    0.5      $787.50
             proceeds and provide direction
3/21/24      Review token details and methods regarding         John J. Ray III    1.3     $2,047.50
             liquidation of coins
3/21/24      Review materials for examiner meetings             John J. Ray III    1.8     $2,835.00
3/21/24      Review Anthropic updates and provide response      John J. Ray III    0.3      $472.50

3/22/24      Call with JL Frank related to communications with John J. Ray III     0.5      $787.50
             S&C (A Dietderich and others)
3/22/24      Review update re token sale                        John J. Ray III    0.3      $472.50

3/22/24      Respond to media inquiries                         John J. Ray III    0.8     $1,260.00

3/22/24      Review of Anthropic sale notice                    John J. Ray III    0.5      $787.50

3/22/24      Review Japan update                                John J. Ray III    0.3      $472.50

3/22/24      Review omnibus objections                          John J. Ray III    2.5     $3,937.50

3/22/24      Review and execute custody agreements              John J. Ray III    1.3     $2,047.50

3/22/24      Review of convenience class calculations           John J. Ray III    0.8     $1,260.00

3/22/24      Review and execute Anthropic documents             John J. Ray III    1.3     $2,047.50
3/22/24      Review of Examiner addendum                        John J. Ray III    0.3      $472.50
3/23/24      Review token sale update                           John J. Ray III    0.3      $472.50

3/23/24      Communicate with Board regarding pending           John J. Ray III    0.5      $787.50
             matters
3/24/24      Review communications inquiries and respond        John J. Ray III    0.8     $1,260.00

3/25/24      Call with A&M (H Chambers and others) and          John J. Ray III    0.8     $1,260.00
             S&C (E Simpson and others) related to Japan
             matters



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                                                                                    Hours Corresponding
Enter Date                      Description                        Professional
                                                                                    Worked   Charge

3/25/24      Call with S&C (J Bromley and others) and JL          John J. Ray III    0.8     $1,260.00
             Frank related to communications inquiries

3/25/24      Review of token sale status and documentation        John J. Ray III    1.5     $2,362.50

3/25/24      Review of tax matters                                John J. Ray III    1.0     $1,575.00
3/25/24      Respond to venture sale inquiry                      John J. Ray III    0.3      $472.50
3/25/24      Review venture sale updates                          John J. Ray III    0.3      $472.50
3/25/24      Call with Galaxy, A&M (K Ramanathan and              John J. Ray III    1.0     $1,575.00
             others), and UCC professionals re coin and token
             sale status
3/25/24      Review and approve stipulation related to EU         John J. Ray III    0.5      $787.50
3/25/24      Review communications from various outreach          John J. Ray III    2.5     $3,937.50
             and assistance with responses

3/25/24      Call with Rothschilds (C Delo) and FTI (S Simms) John J. Ray III        0.8     $1,260.00
             related to token sales

3/25/24      Review and execute CPSA agreement                    John J. Ray III    0.8     $1,260.00
3/26/24      Call with S&C (J Bromley and others) and JL          John J. Ray III    0.8     $1,260.00
             Frank related to communications inquiries

3/26/24      Weekly steering committee call with A&M (E           John J. Ray III    1.0     $1,575.00
             Mosely and others), PWP (B Mendelsohn and
             others), and S&C (A Kranzley and others)
3/26/24      Review, prepare and respond to media inquiries       John J. Ray III    2.5     $3,937.50
             related to Plan status

3/26/24      Review and provide direction related to admin        John J. Ray III    0.3      $472.50
             claim settlement proposal
3/26/24      Review and provide Board information related to      John J. Ray III    0.8     $1,260.00
             IRS matter
3/26/24      Calls with Board members related to various open     John J. Ray III    1.5     $2,362.50
             matters and status
3/26/24      Management of open work streams and status of        John J. Ray III    3.0     $4,725.00
             progress on open items



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                                                                                     Hours Corresponding
Enter Date                      Description                         Professional
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3/27/24      Review and execute documents related to venture       John J. Ray III    0.8     $1,260.00
             sale

3/27/24      Review and execute documents related to token         John J. Ray III    0.8     $1,260.00
             sale and consent
3/27/24      Review draft stipulation related to execution of EU John J. Ray III      0.8     $1,260.00
             motion and order
3/27/24      Call with A&M (K Ramanathan and others)               John J. Ray III    0.3      $472.50
             related to updated information related to coins and
             tokens
3/27/24      Call with J Frank (T Garvey and others) and S&C       John J. Ray III    0.5      $787.50
             (S Ehrenberg and others) related to
             communications matters related to Plan
3/27/24      Case management matters related to oversight of       John J. Ray III    2.5     $3,937.50
             cash and asset management
3/27/24      Review update related to IRS matters                  John J. Ray III    0.8     $1,260.00
3/27/24      Coordinate with JOLs related to property sales        John J. Ray III    0.8     $1,260.00
3/27/24      Review and execute closing documents related to       John J. Ray III    0.8     $1,260.00
             EU
3/27/24      Review token sale auction term sheets and revise      John J. Ray III    1.3     $2,047.50
             same
3/27/24      Review IRS requests related to customer account       John J. Ray III    0.8     $1,260.00
             balances
3/27/24      Review and approve diligence request                  John J. Ray III    0.3      $472.50
3/27/24      Review and execute GT engagement letter               John J. Ray III    0.5      $787.50
3/27/24      Review and approve additional NDAs related to         John J. Ray III    0.5      $787.50
             venture sale
3/28/24      Call with J Frank and S&C (J Bromley and others) John J. Ray III         0.5      $787.50
             related to Plan communications
3/28/24      Review and revise term sheet and letter related to    John J. Ray III    1.3     $2,047.50
             Plan liquidity
3/28/24      Review and execute documents related to token         John J. Ray III    1.5     $2,362.50
             sale


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                                                                                     Hours Corresponding
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3/28/24      Review Plan structure open issues                     John J. Ray III     1.3     $2,047.50
3/28/24      Review token sales and update tracker re same         John J. Ray III     1.3     $2,047.50
3/28/24      Review NDAs related to token sales                    John J. Ray III     0.5     $787.50
3/28/24      Review and approve admin claim settlement             John J. Ray III     0.5     $787.50
3/28/24      Mark up token sale term sheet and discuss with        John J. Ray III     2.5     $3,937.50
             A&M (K Ramanathan)
3/28/24      Review of customer claims summary and develop         John J. Ray III     1.3     $2,047.50
             structure related to claims objections
3/29/24      Call with S&C (A Kranzley and others) and A&M John J. Ray III             1.0     $1,575.00
             (E Mosley and others) related to Plan time line and
             processes
3/29/24      Call with S&C (A Dietderich and others), PWP (B John J. Ray III           0.8     $1,260.00
             Mendelsohn and others), and A&M (S Coverick, E
             Mosely and others) related to liquidity facility
3/29/24      Review of NDAs and background materials related John J. Ray III           1.8     $2,835.00
             to bidders and provide feedback
3/29/24      Provide guidance to CFO (M Cilia) related to          John J. Ray III     0.3     $472.50
             Japan staffing
3/29/24      Review token sale update and status of open           John J. Ray III     0.8     $1,260.00
             matters
3/29/24      Further revisions to token sale term sheet            John J. Ray III     1.3     $2,047.50
3/29/24      Review Vault bids and provide direction               John J. Ray III     0.5     $787.50
3/29/24      Review further venture NDAs                           John J. Ray III     0.3     $472.50
3/29/24      Review open diligence requests and approve same       John J. Ray III     0.8     $1,260.00
3/29/24      Prepare agenda for Board meeting                      John J. Ray III     1.0     $1,575.00
3/30/24      Prepare outline and agenda for JOL meeting            John J. Ray III     1.8     $2,835.00
3/31/24      Review and provide direction related to EU            John J. Ray III     0.5     $787.50
             settlement

                                                          Total Amount for Period:    231.0   $363,825.00



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                              Owl Hill Expense Report – Detail by Day, by Category

                                                             Transportation
  Date          Description             Air       Lodging                      Meals    Other    Professional
                                                               & Parking

03/27/24 Overnight shipping                                                            $83.40    John J. Ray III
         documents to S&C
03/28/24 Overnight shipping                                                            $83.40    John J. Ray III
         documents to S&C

         Total Amount for Period:       $0.00      $0.00         $0.00         $0.00   $166.80




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